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                                 Exhibit 5
 Case 6:24-cv-00037-DCJ-DJA Document 32-22 Filed 02/28/24 Page 2 of 8 PageID #: 1175
    An official website of the United States government Here’s how you know

           Cease Using the Entity Management API for Reps and                     See All Alerts
           Certs Information
           Show Details
           Dec 13, 2023


           Entity Validation Processing Show Details
           Feb 13, 2024




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                            Missile Defense Agency (MDA)
                            Ground Test Facility
Contract
Opportunity                 Infrastructure (GTFI), Redstone
 General Information        Arsenal, AL
 Classification

 Description                          ACTIVE                                  Contract Opportunity

 Attachments/Links                 Notice ID
 Contact Information
                                   W9127823R0069

 History                           Related Notice
                                   W9127823R0069
Award Notices
                                   Department/Ind. Agency
                                   DEPT OF DEFENSE
                                   Sub-tier
Case 6:24-cv-00037-DCJ-DJA Document 32-22 Filed 02/28/24 Page 3 of 8 PageID #: 1176
                       DEPT OF THE ARMY
                       Major Command
                       USACE
                       Sub Command
                       SAD
                       Office
                       US ARMY ENGINEER DISTRICT MOBILE




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                         APEX Accelerators are funded in part through a
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                         The APEX Accelerators program was formerly known as
                         the Procurement Technical Assistance Program (PTAP).




                  General Information
                  Contract Opportunity Type: Presolicitation (Original)
                  All Dates/Times are: (UTC-06:00) CENTRAL STANDARD TIME, CHICAGO, USA
                  Original Published Date: Jan 29, 2024 02:39 pm CST
                  Original Response Date: Feb 13, 2024 04:00 pm CST
                  Inactive Policy: 15 days after response date
                  Original Inactive Date: Feb 28, 2024
                  Initiative:
                        None




                  Classification
                  Original Set Aside:
                  Product Service Code: Y1JZ - CONSTRUCTION OF MISCELLANEOUS BUILDINGS
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                  NAICS Code:
                       236220 - Commercial and Institutional Building Construction
                  Place of Performance:
                  Redstone Arsenal , AL 35898
                  USA



                  Description
                  This project is to convert approximately 163,466 SF of existing administrative
                  space in Von Braun IV on Redstone Arsenal to data center; Research,
                  Development, Testing and Engineer (RDT&E) laboratories; and updated
                  administrative space for the Missile Defense Agency (MDA) Missile Defense
                  System (MDS) mission. The existing facility is a five-story reinforced concrete and
                  structural steel building on concrete footings, pre-cast wall panels, and build-up
                  roofs.

                  Required functional areas include RDT&E laboratory space, data
                  center/computer operations, administrative space, meeting rooms, access
                  control, break rooms, and storage areas. New construction includes a 1,722 SF
                  exterior stairwell and a 14,138 SF one-story building expansion to house
                  electrical gear for the new data center. Supporting facilities includes high
                  efficiency mechanical systems, electrically driven chillers, fire pumps, electrical
                  supply and distribution, and uninterruptable power supplies and standby
                  generators for mission critical loads.

                  The project also includes domestic water, sanitary sewer, storm drainage,
                  electrical substation modifications, primary power transmission, natural gas and
                  electrical services, fire protection and alarm systems, connectivity to
                  telecommunications network and distributed service, modification of utility yard
                  access roads, chilled water distribution, physical security, new mechanical and
                  electrical equipment yards, and other site improvements. Accessibility will be
                  provided in accordance with ADA-ABA guidelines. Antiterrorism force protection
                  measures include building standoff distances, lighting, bollards, control gates
                  and berms.

                  THIS PROJECT IS ADVERTISED ON AN UNRESTRICTED BASIS

                  THIS PROJECT IS A REQUEST FOR PROPOSAL (RFP), BEST VALUE SOURCE
                  SELECTION SOLICITATION.

                  THE NORTH AMERICAN INDUSTRY CLASSIFICATION SYSTEM (NAICS) CODE FOR
Case 6:24-cv-00037-DCJ-DJA Document 32-22 Filed 02/28/24 Page 5 of 8 PageID #: 1178
                  THIS PROJECT IS 236220.

                  THE EXPECTED MAGNITUDE OF THIS PROJECT IS BETWEEN $100,000,000.00 and
                  $250,000,000.00

                  Note No. 1: All prospective contractors and their subcontractors and suppliers
                  must be registered in The System for Award Management (SAM.gov) before they
                  will be allowed to download solicitation information. Contractors must be
                  registered in the System for Award Management (SAM) at
                  https://sam.gov/content/home prior to solicitation of this requirement.
                  Solicitation documents, plans and specifications will only be available via the
                  Procurement Integrated Enterprise Environment (PIEE) website
                  https://piee.eb.mil See attachments PIEE Solicitation Module Vendor Access
                  Instructions and SOP PIEE Proposal Manager Offeror for instructions on getting
                  access to the PIEE Solicitation Module and submitting your proposal.
                  Registration for plans and specifications should be made via the Procurement
                  Integrated Enterprise Environment (PIEE) website https://piee.eb.mil. If you are
                  not registered, the United States Government is not responsible for providing
                  you with notifications of any changes to this solicitation. The solicitation will be
                  available only as a direct download. This solicitation will not be issued on CD-
                  ROM. Neither telephonic, mailed, nor fax requests will be accepted. Registration
                  should be completed one (1) week prior to the issue date. It is therefore the
                  contractor’s responsibility to monitor the website daily for the solicitation to be
                  posted, and for any posted changes or amendments to this solicitation. The
                  plans and specifications and all notifications of changes to this solicitation shall
                  only be made through this posting and modifications hereto. Plans and
                  specifications will not be provided in a printed-paper format; however, the
                  Government reserves the right to revert to paper medium when it is determined
                  to be in the Government's best interest. NOTE: This solicitation is in .pdf format
                  and requires Adobe Acrobat Reader. Adobe Acrobat Reader may be downloaded
                  free of charge at http://www.adobe.com/products/reader.

                  Note No. 2: All bid forms, bid bonds, and other normal documents required for
                  the bid submittal, including amendments to the bid submittal, shall be
                  electronic format with the proposal.

                  Note No. 3: Critical path method (network analysis system) is required.

                  Note No. 4: This solicitation includes bid options which may not be awarded.

                  Note No. 5: All advertisements of Mobile District projects will be through the
                  Procurement Integrated Enterprise Environment (PIEE) website
                  https://piee.eb.mil. Detailed information on this and other Mobile District
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                  Projects (Ordering Solicitations, Points of Contact, Synopsis of Work, etc.) are
                  available on the Internet at the Procurement Integrated Enterprise Environment
                  (PIEE) website https://piee.eb.mil.

                  Address questions concerning downloading of plans/specifications to the
                  Contract Specialist indicated above.

                  Note No. 6: Site Visit information will be posted with the solicitation.

                  Note No. 7: The request for information (RFI) process for bidder inquiries during
                  the advertisement period will be through the ProjNet internet-based system,
                  and specifics will be contained in the RFP solicitation package available
                  exclusively from the Procurement Integrated Enterprise Environment (PIEE)
                  website https://piee.eb.mil. Other forms of communicating RFIs to the
                  Government will not be honored. The Government will try to respond to all
                  questions. However, responses may not be furnished to all questions and
                  particularly those received late in the advertisement period (0-10 days prior to
                  bid opening.)

                  Note No. 8: In accordance with EO 14063, Use of Project Labor Agreements for
                  Federal Construction Projects, issued 4 February 2022, Offerors shall submit an
                  offer subject to Project Labor Agreement (PLA) requirements in accordance with
                  FAR 22.504, General requirements for project labor agreements. Any PLA
                  reached pursuant to the PLA requirements in the solicitation does not change
                  the terms of the contract or provide for any price adjustment by the
                  Government.




                  Attachments/Links
                  No attachments or links have been added to this opportunity.




                  Contact Information
                  Contracting Office Address
                  KO CONTRACTING DIVISION 109 ST JOSEPH ST
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                  MOBILE , AL 36628-0001
                  USA


                  Primary Point of Contact
                  Stephanie M. Scalise
                   Stephanie.m.scalise@usace.army.mil
                  Secondary Point of Contact
                  Kyle M. Rodgers
                   kyle.m.rodgers@usace.army.mil
                   2516903356



                  History
                   
                    Jan 29, 2024 02:39 pm CST
                       Presolicitation (Original)


                    Sep 30, 2023 10:55 pm CDT
                       Special Notice (Original)
                   




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 Policies                                                     Customer Service
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 Disclaimers                                                  Federal Service Desk

 Freedom of Information Act                                   External Resources

 Accessibility                                                Contact

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